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13
                                   UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
     LORETTA JOHNSON and CHARLOTTE                     CASE NO.: 4:21-cv-06135-HSG
16   GUSS, individually, and on their own behalf
     and on behalf of all others similarly situated,   DEFENDANTS’ NOTICE OF
17
                                                       WITHDRAWAL OF COUNSEL
                         Plaintiffs,                   ANDREW M. SWINDLE
18
            v.
19
     CHARTER COMMUNICATIONS, INC., a
20   Delaware corporation; SPECTRUM
     MANAGEMENT HOLDING COMPANY,
21   LLC; and DOES 1 through 100, inclusive,
22                          Defendants.
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           NTC OF WITHDRAWAL OF COUNSEL ANDREW M. SWINDLE – CASE NO. 4:21-CV-06135-HSG
        Case 4:21-cv-06135-HSG Document 65 Filed 07/13/22 Page 2 of 4




 1          NOTICE IS HEREBY GIVEN that Andrew M. Swindle is no longer affiliated with Kabat
 2   Chapman & Ozmer LLP, and his appearance is hereby withdrawn as counsel for Defendants Charter
 3   Communications, Inc. and Spectrum Management Holding Company, LLC in the above-captioned
 4   matter. He may be removed from any applicable service lists. All remaining Kabat Chapman &
 5   Ozmer LLP attorneys who have appeared in this matter remain counsel of record and should continue
 6   to receive notices.
 7
     DATED: July 13, 2022                       KABAT CHAPMAN & OZMER LLP
 8

 9                                              By: /s/ Alexander D. Terepka
                                                   Alexander D. Terepka
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11                                                 Attorney for Defendants Charter Communications,
                                                   Inc. and Spectrum Management Holding
12                                                 Company, LLC

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           NTC OF WITHDRAWAL OF COUNSEL ANDREW M. SWINDLE – CASE NO. 4:21-CV-06135-HSG
        Case 4:21-cv-06135-HSG Document 65 Filed 07/13/22 Page 3 of 4




 1                                         PROOF OF SERVICE
 2
                 U.S. DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA
 3
             I am employed in the County of Los Angeles, State of California; I am over the age of 18 and
 4   not a party to the within action; my business address is 333 S. Grand Ave., Suite 2225, Los Angeles,
     CA 90071.
 5

 6           On July 13, 2022, I served the foregoing document(s) described DEFENDANTS’ NOTICE
     OF WITHDRAWAL OF COUNSEL ANDREW M. SWINDLE on the interested parties to
 7   this action by delivering a copy thereof in a sealed envelope addressed to each of said interested
     parties at the following address(es): SEE ATTACHED LIST
 8
            (BY MAIL) I am readily familiar with the business practice for collection and processing of
 9   correspondence for mailing with the United States Postal Service. This correspondence shall be
     deposited with the United States Postal Service this same day in the ordinary course of business at our
10   Firm's office address in Los Angeles, CA. Service made pursuant to this paragraph, upon motion of
     a party served, shall be presumed invalid if the postal cancellation date of postage meter date on the
11   envelope is more than one day after the date of deposit for mailing contained in this affidavit.
12          (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be electronically
     filed using the Court’s Electronic Filing System which constitutes service of the filed document(s) on
13   the individual(s) listed on the attached mailing list.
14          (Federal) I declare that I am employed in the office of a member of the bar of this court at
     whose direction the service was made. I declare under penalty of perjury that the above is true and
15   correct.
16          Executed on July 13, 2022, at Los Angeles, California.
17                                                        __/s/ Alexander D. Terepka________
                                                          Alexander D. Terepka
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        Case 4:21-cv-06135-HSG Document 65 Filed 07/13/22 Page 4 of 4



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